Case 1:18-mj-00158-RI\/|I\/| Document 1-1 Filed 12/13/18 fP_age 1`0f 1

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UNITED STATES DISTRICI` COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVIS_ION
UNITED S'I`ATES OF AMERICA, )
l _ ) case 1;1a_mj-00158
Plaintiff» ) Assigned To: Nlagistrate Judge Robin M. Meriweather
; __) Date Assigr_'ced: 12113!2018
vs_ ' ‘ ) Descriptionl Rule 5Arrest Warrant
` )
SHERIF SADIK, )
. ) - .
Defendant ) l , /
INDICTMENT
COUNT l
l (Prohibited Person m Possession o_f a F1rearm)

'I'he Grand Jury charges that:
' On or about August 23, 2018, in the City and County of St. Louis, in the Eastem District
of M_issouri,
S_HERIF SADIK

the defenth herein, having been adjudicated a mental defective and having been committed to a
mental institution, thereafter did lmolwingly possess a fireaxm, that being a- Century Arms Canik
model TPQSA, 9 millimeter pistol which previously traveled in interstate commerce during or prior
to the befendant's possession.

In violation oiTide 18, United States Code, Sections 922(g)(4).

A TRUE B]LL

 

» FOREPERSON
JEFFREY B. JENSEN
United States Attomey

 

Matthew T. Drake - 46499MO
Assistant United States Attomey

